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                      EXHIBIT A
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INVESTOR ALERT: Scott+Scott
Attorneys at Law LLP Files Securities
Class Action Against Robinhood
Markets Inc. (NASDAQ: HOOD)
December 17, 2021 21:44 ET | Source: Scott+Scott Attorneys at Law LLP




NEW YORK, Dec. 17, 2021 (GLOBE NEWSWIRE) -- Scott+Scott Attorneys at
Law LLP (“Scott+Scott”), an international shareholder and consumer rights
litigation firm, has filed a securities class action lawsuit against Robinhood
Markets Inc. (NASDAQ: HOOD) (“Robinhood” or the “Company”), certain
Robinhood directors and officers, and the underwriters of Robinhood’s July
2021 initial public offering (the “IPO” or the “Offering”), alleging violations of
§§11, 12(a)(2) and 15 of the U.S. Securities Act of 1933, 15 U.S.C. §§ 77k, 77l(a)(2),
and 77o. If you purchased Robinhood common stock pursuant and/or
traceable to the Offering, you are encouraged to contact Scott+Scott
attorney     Jonathan       Zimmerman         at     (888)    398-9312,      or    at
jzimmerman@scott-scott.com for more information.
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Robin
comm
crypto

On or about July 30, 2021, Robinhood conducted its IPO, offering 55 million
shares of its common stock to the public at a price of $38 per share (the
“Offering Price”) for anticipated proceeds of over $2 billion.

According to the complaint, Robinhood’s registration statement and
prospectus used to effectuate its IPO contained representations that were
materially inaccurate, misleading, and/or incomplete because they failed to
disclose that, at the time of the IPO, Robinhood’s revenue growth was
experiencing a major reversal, with transaction-based revenues from
cryptocurrency trading serving only as a short-term, transitory injection,
masking what was actually stagnating growth. In addition, the Company’s
“significant investments” in enhancing the reliability and scalability of its
platform were patently inadequate and/or defective, exposing Robinhood to
worsening service-level disruptions and security breaches, particularly as
the Company scaled its services to a larger user base.

As these true facts emerged after the Offering, Robinhood’s shares fell
sharply, trading as low as $17.08 per share, representing a decline of over
55% from the Offering Price.

Lead Plaintiff Deadline

The Lead Plaintiff deadline in this action is February 15, 2022. Any member
of the proposed Class may seek to serve as Lead Plaintiff through counsel of
their choice, or may choose to do nothing and remain a member of the
proposed Class. The case is pending in the Northern District of California
under docket number 21-cv-9767.

What You Can Do

If you purchased Robinhood common stock during the Class Period, or if
you have questions about this notice or your legal rights, you are
encouraged to contact attorney Jonathan Zimmerman at (888) 398-9312 or
jzimmerman@scott-scott.com.

About Scott+Scott

Scott+Scott has significant experience in prosecuting major securities,
antitrust, and consumer rights actions throughout the United States. The
firm represents pension funds, foundations, individuals, and other entities
worldwide with offices in New York, London, Amsterdam, Connecticut,
California, Virginia, and Ohio.
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